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                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF RHODE ISLAND


JOHN DOE,
                         Plaintiff,

v.                                                            C.A. NO.: 19-326-JJM-PAS

PROVIDENCE COLLEGE,
               Defendant.


                           DEFENDANT PROVIDENCE COLLEGE’S
                            MOTION TO FILE A DECLARATION IN
                      SUR-REPLY TO PLAINTIFF’S REPLY IN SUPPORT OF
                   HIS MOTION FOR TEMPORARY RESTRAINING ORDER AND
                                PRELIMINARY INJUNCTION

           Under Local Rule Cv. 7(a)(5), Defendant Providence College (the “College”) requests

leave to file a sur-reply. Specifically, the College wishes to file a declaration executed by Mark

Pierce, its Director of Community Standards, to respond to the affidavit of Attorney Grasso, which

was first filed and served on June 26, 2019 and was accompanied by Plaintiff’s affidavit attesting

to the allegations in his complaint. Plaintiff should have filed his and Attorney Grasso’s affidavits

upon commencing this litigation and immediately moving for mandatory injunctive relief on June

13, 2019 or at least before the College’s prompt filing of its objection on June 19, 2019.

           The College seeks to file Mr. Pierce’s declaration to address and correct certain

representations and the chronology stated in Attorney Grasso’s affidavit, which the College

maintains are inaccurate or incomplete. Given the issues discussed during counsel’s conference

call with the Court on June 14, 2019 and addressed in more detail in the parties’ subsequent

briefing, the College submits that Mr. Pierce’s declaration will provide relevant and necessary

information for the Court’s full review of the pending matters.

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           Regarding the College’s pending motion to dismiss Plaintiff’s complaint, Plaintiff’s

objection is due by Wednesday, July 3, 2019. To avoid any delay in this litigation, if the Court

permits the College to file a sur-reply, it will submit Mr. Pierce’s declaration by July 3, 2019.



                                                      PROVIDENCE COLLEGE
                                                      By its Attorney,

                                                      /s/ Steven M. Richard
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Dated: June 27, 2019



                                   CERTIFICATE OF SERVICE

         I certify that on the 27th day of June, 2019, I filed and served this motion to for leave to
file a sur-reply via the Court’s CM/ECF system.


                                                      /s/ Steven M. Richard




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